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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION


 DEARREA KING,
                                                  Case No. 2:18-cv-1060
              Plaintiff,
                                                  Judge Edmund A. Sargus
        v.
                                                  Magistrate Judge Elizabeth P. Deavers
 CITY OF COLUMBUS, OHIO et al.,

              Defendants/Third-Party Plaintiffs

        v.

 DEMETRIUS BRAXTON
 Inmate #A731130
 Lebanon Correctional Institution
 3791 OH-63
 Lebanon, Ohio 45036,

        and
                                                           DEFENDANTS’
 JARONN COLLINS,                                         ANSWER & THIRD-
 Inmate #0399895                                         PARTY COMPLAINT
 Franklin County Corrections Center II
 2460 Jackson Pike
 Columbus, Ohio 43223,

        and                                          (Jury Demand Endorsed Herein)
      AB
 639 Erickson Avenue
 Columbus, Ohio 43213,

        and

      PR
 4635 Glengrove Lane
 Columbus, Ohio 43213,

              Third-Party Defendants.
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                                            ANSWER

       For their answer to the complaint filed Plaintiff Dearrea King (Plaintiff) on September 14,

2018, Defendants City of Columbus, Bryan Mason, and Kim Jacobs admit, deny, and state the

following:

                   SPECIFIC ADMISSIONS, DENIALS & ASSERTIONS

                                Defendants’ Response to Plaintiff’s
                                    “Preliminary Statement”

       1.      In response to Paragraph 1, Defendants state that Columbus Police Officer Bryan

Mason (Mason) shot and killed Tyre King (King) on September 14, 2016. Defendants deny the

remaining allegation in Paragraph 1.

       2.      In response to Paragraph 2, Defendants state that, on September 14, 2016, Tyre King

was a 13-year-old, African-American male who attended Lind-McKinley STEM Academy and had

just begun the eighth grade. Because they are without knowledge, information, or belief sufficient to

admit or deny the remaining allegations in Paragraph 2, Defendant deny those remaining allegations.

       3.      Defendants admit the allegations in Paragraph 3.

       4.      In response to Paragraph 4, Defendants state that, at the time Mason stopped King on

September 14, 2016, King was in possession of a black, Umarex 40XP air-powered replica handgun.

Defendants deny King’s replica firearm was a “toy.” Defendants deny the remaining allegations in

Paragraph 4.

       5.      In response to Paragraph 5, Defendants state that, at the time Mason stopped King on

September 14, 2016, King was in possession of a black, Umarex 40XP air-powered replica handgun.

Defendants deny King’s replica firearm was a “toy.” Answering further, Defendants state that one or

more individuals interviewed during the Columbus Division of Police’s investigation into the incident

have stated that King’s replica firearm was not visible at the time of the shooting. Because Plaintiff


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does not actually identify the specific individuals to whom she refers, Defendants lack knowledge,

information, or belief sufficient to admit or deny whether such individuals were witnesses or whether

such individuals said what Plaintiff claims. As such, Defendants deny those allegations in Paragraph

5. Defendants deny the remaining allegations in Paragraph 5.

       6.      Defendants deny the allegations in Paragraph 6.

       7.      In response to Paragraph 7, Defendants state that Mason provided a written statement

about the incident to investigators on September 21, 2016. Within that written statement, Mason made

the following statements about the September 14, 2016 incident at issue:

               [King] was running to the right and slightly behind (southeast of)
               the first male [robbery suspect]. [King] was wearing a light color
               shirt, and when I started to shift my focus to him, I could
               immediately see what I believed was the grip of a handgun that was
               tucked into his front waistband. As I repeatedly shouted “Get
               down!” [King] continued running, veering northeast toward a car
               that was parked, facing south, in a small parking area located on the
               southeast corner of two alleys … I thought he was going to run past
               the driver’s side of the parked car, but he came to a stop with a quick
               stutter step—facing north—approximately 3 feet in front of the car
               on the driver’s side.

Defendants deny the remaining allegations in Paragraph 7.

       8.      In response to Paragraph 8, Defendants state that Mason provided a written statement

about the incident to investigators on September 21, 2016. Within that written statement, Mason made

the following statements about the September 14, 2016 incident at issue:

               [King] looked directly at me before he grabbed the grip of the
               handgun in his waistband and tugged on it. I was intently focused
               on [King’s] hands and the potential threat of a gun in his waistband.
               While still shouting “Get down!” I quickly took one or two steps
               closer to the passenger side of the parked car, hoping it would
               provide me with some cover. My gun was raised and pointed at the
               suspect at that time, and he forcefully tugged on the grip of his gun
               at least one or two more times as if it were snagged on something.
               In that instant, his refusal to comply with my commands and his
               continuing attempts to pull the gun out, caused me to believe that he
               was going to engage me in a gun fight. He then pulled the gun out


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               of his waistband and, as he raised it up in front of his torso, I could
               see it had a laser sight or light attached to the bottom of the barrel. I
               believed he was going to shoot me, and I fired my gun at him.
               Immediately after my first shot, the suspect began to spin clockwise
               (to his right), and, immediately following my last shot, he dropped
               to the ground in front of the parked car. I moved a few steps forward
               so that I could see him, and I saw that [Columbus Police] Officer
               [Robert] Reffitt was approaching from the north, with his gun
               drawn, along the driver’s side of the parked car. At some point, I
               heard Officer Reffitt airing shots fired.

Defendants deny the remaining allegations in Paragraph 8.

       9.      In response to Paragraph 9, Defendants state that Mason provided a written statement

about the incident to investigators on September 21, 2016. Within that written statement, Mason made

the following statements about the September 14, 2016 incident at issue:

               [King] looked directly at me before he grabbed the grip of the
               handgun in his waistband and tugged on it. I was intently focused
               on [King’s] hands and the potential threat of a gun in his waistband.
               While still shouting “Get down!” I quickly took one or two steps
               closer to the passenger side of the parked car, hoping it would
               provide me with some cover. My gun was raised and pointed at the
               suspect at that time, and he forcefully tugged on the grip of his gun
               at least one or two more times as if it were snagged on something.
               In that instant, his refusal to comply with my commands and his
               continuing attempts to pull the gun out, caused me to believe that he
               was going to engage me in a gun fight. He then pulled the gun out
               of his waistband and, as he raised it up in front of his torso, I could
               see it had a laser sight or light attached to the bottom of the barrel. I
               believed he was going to shoot me, and I fired my gun at him.
               Immediately after my first shot, the suspect began to spin clockwise
               (to his right), and, immediately following my last shot, he dropped
               to the ground in front of the parked car. I moved a few steps forward
               so that I could see him, and I saw that [Columbus Police] Officer
               [Robert] Reffitt was approaching from the north, with his gun
               drawn, along the driver’s side of the parked car. At some point, I
               heard Officer Reffitt airing shots fired.

Defendants deny the remaining allegations in Paragraph 9.




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       10.     In response to Paragraph 10, Defendants state that Mason provided a written statement

about the incident to investigators on September 21, 2016. Within that written statement, Mason made

the following statements about the September 14, 2016 incident at issue:

               [King] looked directly at me before he grabbed the grip of the
               handgun in his waistband and tugged on it. I was intently focused
               on [King’s] hands and the potential threat of a gun in his waistband.
               While still shouting “Get down!” I quickly took one or two steps
               closer to the passenger side of the parked car, hoping it would
               provide me with some cover. My gun was raised and pointed at the
               suspect at that time, and he forcefully tugged on the grip of his gun
               at least one or two more times as if it were snagged on something.
               In that instant, his refusal to comply with my commands and his
               continuing attempts to pull the gun out, caused me to believe that he
               was going to engage me in a gun fight. He then pulled the gun out
               of his waistband and, as he raised it up in front of his torso, I could
               see it had a laser sight or light attached to the bottom of the barrel. I
               believed he was going to shoot me, and I fired my gun at him.
               Immediately after my first shot, the suspect began to spin clockwise
               (to his right), and, immediately following my last shot, he dropped
               to the ground in front of the parked car. I moved a few steps forward
               so that I could see him, and I saw that [Columbus Police] Officer
               [Robert] Reffitt was approaching from the north, with his gun
               drawn, along the driver’s side of the parked car. At some point, I
               heard Officer Reffitt airing shots fired.

Defendants deny the remaining allegations in Paragraph 10.

       11.     In response to Paragraph 11, Defendants state that Mason provided a written statement

about the incident to investigators on September 21, 2016. Within that written statement, Mason made

the following statements about the September 14, 2016 incident at issue:

               [King] looked directly at me before he grabbed the grip of the
               handgun in his waistband and tugged on it. I was intently focused
               on [King’s] hands and the potential threat of a gun in his waistband.
               While still shouting “Get down!” I quickly took one or two steps
               closer to the passenger side of the parked car, hoping it would
               provide me with some cover. My gun was raised and pointed at the
               suspect at that time, and he forcefully tugged on the grip of his gun
               at least one or two more times as if it were snagged on something.
               In that instant, his refusal to comply with my commands and his
               continuing attempts to pull the gun out, caused me to believe that he
               was going to engage me in a gun fight. He then pulled the gun out


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               of his waistband and, as he raised it up in front of his torso, I could
               see it had a laser sight or light attached to the bottom of the barrel. I
               believed he was going to shoot me, and I fired my gun at him.
               Immediately after my first shot, the suspect began to spin clockwise
               (to his right), and, immediately following my last shot, he dropped
               to the ground in front of the parked car. I moved a few steps forward
               so that I could see him, and I saw that [Columbus Police] Officer
               [Robert] Reffitt was approaching from the north, with his gun
               drawn, along the driver’s side of the parked car. At some point, I
               heard Officer Reffitt airing shots fired.

Defendants deny the remaining allegations in Paragraph 11.

       12.     In response to Paragraph 12, Defendants state that, at the time of the relevant incident,

King was in possession of a black, Umarex 40XP air-powered replica handgun. Defendants deny that

this replica firearm was a “toy.” Answering further, Defendants state that one or more individuals

interviewed as part of the Columbus Division of Police’s investigation into the incident have made

statements that contradict statements made by Mason. Because Plaintiff does not actually identify the

specific individual to whom she refers, Defendants lack knowledge, information, or belief sufficient

to either admit or deny whether that individual was a witness to the incident or whether that individual

actually said what Plaintiff claims. As such, Defendants deny those allegations in Paragraph 12.

Defendants deny the remaining allegations in Paragraph 12.

       13.     Defendants deny the allegations in Paragraph 13.

       14.     In response to Paragraph 14, Defendants state one or more individuals interviewed as

part of the Columbus Division of Police’s investigation into the incident have made statements that

contradict statements made by Mason. Because Plaintiff does not identify the specific individual to

whom she refers, Defendants lack knowledge, information, or belief sufficient to either admit or deny

whether that individual was a witness to the incident or whether that individual actually said what

Plaintiff claims. As such, Defendants deny those allegations in Paragraph 14. Defendants deny the

remaining allegations in Paragraph 14.



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       15.      In response to Paragraph 15, Defendants state one or more individuals interviewed as

part of the Columbus Division of Police’s investigation into the incident have made statements that

contradict statements made by Mason. Because Plaintiff does not identify the specific individual to

whom she refers, Defendants lack knowledge, information, or belief sufficient to either admit or deny

whether that individual was a witness to the incident or whether that individual actually said what

Plaintiff claims. As such, Defendants deny those allegations in Paragraph 15. Defendants deny the

remaining allegations in Paragraph 15.

       16.      Defendants lack knowledge, information, or belief sufficient to either admit or deny

the allegations in Paragraph 16 and therefore deny those allegations.

       17.      Defendants lack knowledge, information, or belief sufficient to either admit or deny

the allegations in Paragraph 17 and therefore deny those allegations.

       18.      In response to Paragraph 18, Defendants admit that the statement of Columbus Police

Officer Robert Reffitt corroborates the statements made by Mason but deny that Officer Reffitt is the

only witness to corroborate Mason’s version of events. Defendants deny the remaining allegations in

Paragraph 18.

       19.      Defendants deny the allegations in Paragraph 19.

       20.      In response to Paragraph 7, Defendants state that Mason provided a written statement

about the incident to investigators on September 21, 2016. Within that written statement, Mason made

the following statements about the September 14, 2016 incident at issue: “It was not until I began

placing [King] in handcuffs that I noticed he appeared to be a young teenager.” Defendants deny the

remaining allegations in Paragraph 20.

       21.      In response to Paragraph 21, Defendants state that King was 5-feet, 2-inches tall and

weighed 120 pounds at the time of his death. Answering further, Defendants lack knowledge,




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information, or belief sufficient to either admit or deny that any pathologist described King as a

“small-framed adolescent boy.” Defendants deny the remaining allegations in Paragraph 21.

        22.     Defendants admit the allegations in Paragraph 22.

        23.     Defendants deny the allegations in Paragraph 23.

        24.     Defendants deny the allegations in Paragraph 24.

        25.     Defendants deny the allegations in Paragraph 25.

        26.     Defendants deny the allegations in Paragraph 26.

        27.     Defendants deny the allegations in Paragraph 27.

        28.     Defendants deny the allegations in Paragraph 28.

        29.     In response to Paragraph 29, Defendants state that Dr. Emily Hansen was fairly new

to the Franklin County Coroner’s Office on September 15, 2016. Defendants deny the remaining

allegations in Paragraph 29.

        30.     In response to Paragraph 30, Defendants state that a Certificate of Death for King was

certified by Anahi M. Ortiz on September 22, 2016. Defendants deny the remaining allegations in

Paragraph 30.

        31.     In response to Paragraph 31, Defendants state that the September 22, 2016 Certificate

of Death for King does not provide a cause of death, a date of injury, a time of injury, a place of injury,

a location of injury, or a description of how an injury occurred. Defendants deny any remaining

allegations in Paragraph 31.

        32.     On September 15, 2016, Columbus Mayor Andrew Ginther and Columbus Police

Chief Kim Jacobs spoke at a press conference regarding the September 14, 2016 police-involved

shooting death of Tyre King. Defendants deny the remaining allegations in Paragraph 32.

        33.     Defendants deny the allegations in Paragraph 33.




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       34.      Defendants deny the allegations in Paragraph 34.

                                 Defendants’ Response to Plaintiff’s
                               Statement of “Jurisdiction and Venue”

       35.      In response to Paragraph 35, Defendants state that Plaintiff brings this civil action

under 42 U.S.C. § 1983 and O.R.C. Chapter 2125. Defendants deny the remaining allegations in

Paragraph 35.

                                 Defendants’ Response to Plaintiff’s
                                     Statement of the “Parties”

       36.      Defendants admit the allegations in Paragraph 36.

       37.      Defendants admit the allegations in Paragraph 37.

       38.      In response to Paragraph 38, Defendants deny that Mason was a resident of Franklin

County at the time of the incident. Defendants admit the remaining allegations in Paragraph 38.

       39.      In response to Paragraph 39, Defendants deny that the Chief of Policy is the final

policymaker with respect to all of the policies of the Columbus Division of Police. Defendants admit

the remaining allegations in Paragraph 39.

       40.      Defendants admit the allegations in Paragraph 40.

       41.      In response to Paragraph 41, Defendants deny that any action by any one of them—

or by any one of their agents and or employees—was undertaken with malice or a knowing disregard

for Plaintiff’s rights. Defendants admit the remaining allegations in Paragraph 41.

       42.      Defendants lack knowledge, information, or belief sufficient to either admit or deny

the allegations in Paragraph 42 and therefore deny those allegations.

                                 Defendants’ Response to Plaintiff’s
                               Statement of the “Factual Allegations”

       43.      In response to Paragraph 43, Defendants hereby incorporate Paragraphs 1 through 42

above as if they were fully re-written here.



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          44.   In response to Paragraph 44, Defendants state that Mason applied to be a corrections

officer with the Franklin County Sheriff’s Office in March 2004 and that he filed the report writing

portion of the initial written test for that application. Defendants stated that Mason was hired by the

Columbus Division of Police in 2006. Defendants deny any remaining allegations in Paragraph 44.

          45.   Defendants admit the allegations in Paragraph 45.

          46.   Defendants admit the allegations in Paragraph 46.

          47.   Defendants admit the allegations in Paragraph 47.

          48.   Defendants admit the allegations in Paragraph 48.

          49.   Defendants deny the allegations in Paragraph 49.

          50.   In response to Paragraph 50, Defendants state that Mason received notice on March

21, 2006, that the Civil Service Commission had removed his name from the then-current police

officer eligible list because of information revealed in his background investigation. Mason was

informed that this removal was made pursuant to Civil Service Commission Rule VI(E)(1)(p), which

states:

                Applicants may be rejected from consideration or refused
                admittance to an examination, and eligibles may be disqualified or
                removed from an eligible or certification list, for, but not limited to,
                the following causes:

                The individual, based upon information revealed during the
                background investigation, violates the provisions of the Background
                Removal Standards for Police Officer and Police Communication
                Technician applicants ….

Defendants deny any remaining allegations in Paragraph 50.

          51.   In response to Paragraph 51, Defendants state that Mason requested a background

administrative review of his file, and as a result of that additional review, the Civil Service

Commission restored Mason’s name to the then-current police officer eligible list. Mason received




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notice of the Commission’s decision on April 25, 2006. Defendants deny any remaining allegations

in Paragraph 51.

       52.     In response to Paragraph 52, Defendants stated that Mason was hired by the Columbus

Division of Police on December 18, 2006. Defendants deny any remaining allegations in Paragraph

52.

       53.     In response to Paragraph 53, Defendants state the Columbus Police Department’s

Critical Incident Response Team (CIRT) investigates inter alia: (a) any discharge of a firearm by a

Columbus police officer that results in a human injury or death; and (b) any other incident for which

an investigation is specifically ordered by the Commander of the Department’s Crimes Against

Person Bureau Commander, the Department’s Investigative Subdivision Deputy Chief, or the Chief

of Police. Defendants deny any remaining allegations in Paragraph 53.

       54.     Defendants admit the allegations in Paragraph 54.

       55.     In response to Paragraph 55, Defendants state CIRT is a team within the Columbus

Police Department’s Homicide Section that is comprised of twelve homicide detectives from various

shifts, all three shift homicide sergeants, the team leader, and the Homicide Lieutenant (or an

administrative lieutenant if the Homicide Lieutenant is unavailable). Defendants deny any remaining

allegations in Paragraph 55.

       56.     In response to Paragraph 56, Defendants state: (a) CIRT investigates all police-

involved shootings that result in a human injury or death; (b) CIRT forwards its investigations of all

police-involved shooting deaths to the relevant county’s prosecutor; and (c) the Franklin County

Prosecutor’s Office has a policy of presenting all homicides (including police-involved shooting

deaths) to a grand jury. Defendants deny any remaining allegations in Paragraph 56.




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       57.     In response to Paragraph 57, Defendants state: (a) the investigation packet for all

police-involved shooting deaths is forwarded to the Columbus Police Department’s Firearms/Police-

Involved Death Review Board (FRB) for its review and recommendation; (b) upon receiving a

recommendation from the FRB, the investigation package is forwarded to each involved officer's

chain of command for their review and recommendation; (c) if a chain of command does not concur

with FRB's recommendations, the investigation package is forwarded to the Chief of Police for a final

determination; and (d) the foregoing procedure is followed whether or not a grand jury chooses to

indict an involved officer. Defendants deny any remaining allegations in Paragraph 57.

       58.     In response to Paragraph 58, Defendants state that the Chief of Police makes a final

determination as to whether a particular police-involved shooting is within policy if there is a lack of

agreement between or among the FRB and the relevant chains of command. Defendants deny any

remaining allegations in Paragraph 57.

       59.     Defendants admit the allegations in Paragraph 59.

       60.     Defendants admit the allegations in Paragraph 60.

       61.     Defendants admit the allegations in Paragraph 61.

       62.     Defendants admit the allegations in Paragraph 62.

       63.     In response to Paragraph 63, Defendants state Officers Support Teams members are

trained to not talk about the incident with the involved officers. Defendants deny the remaining

allegations in Paragraph 63.

       64.     Defendants admit the allegations in Paragraph 64.

       65.     Defendants admit the allegations in Paragraph 65.

       66.     Defendants admit the allegations in Paragraph 66.

       67.     Defendants deny the allegations in Paragraph 67.




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        68.     In response to Paragraph 68, Defendants: (a) state that involved-officers participate in

the CIRT investigation of a police-involved shooting by agreeing to conduct a "walkthrough" to assist

investigators in their processing of the scene and in their discovery of evidence; and (b) deny that

involved officers are allowed to "wall back through the scene." Defendants deny any remaining

allegations in Paragraph 68.

        69.     Defendants admit the allegations in Paragraph 69.

        70.     In response to Paragraph 70, Defendants: (a) state that information about the involved

citizen's criminal history and gang affiliation can be included in a CIRT investigation packet: (b) lack

an understanding of what is meant by “other information” sufficient to form a belief about the truth

of that particular allegation; and (c) admit that information about the involved citizen “other” than his

or her criminal history and/or gang affiliation is included in a CIRT investigation packet. Defendants

deny any remaining allegations in Paragraph 70.

        71.     In response to Paragraph 71, Defendants state that information about an involved

officer's prior uses of force are not normally included in a CIRT investigation packet for a police-

involved officer. Defendants deny any remaining allegations in Paragraph 71.

        72.     In response to Paragraph 72, Defendants state that information about the involved

citizen's drug or alcohol use can be included in a CIRT investigation packet. Defendants deny any

remaining allegations in this paragraph.

        73.     In response to Paragraph 73, Defendants state: (a) CIRT will seek drug and alcohol

testing of an involved officer after a police-involved shooting if there is reason to believe the involved

officer is under the influence of drugs or alcohol; (b) CIRT would first try to obtain the involved

officer's consent to such testing; and (c) absent consent, CIRT would attempt to obtain such testing

legally and through a warrant. Defendants deny any remaining allegations in Paragraph 73.




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       74.     In response to Paragraph 74, Defendants state that Columbus Police Sergeant Eric

Pilya testified at a deposition in the matter of Adrienne Hood v. City of Columbus, Case No. 2:17-cv-

471, on March 30, 2018, and made the following statement in response to the following question

during that deposition:

               Q.     What makes you think the system that you have in place
               works?

               A.      I think it’s—you know, the officers don't have to talk to us;
               but the way the FOP attorneys handle it, at least we get some
               information that night from them, which normally we wouldn’t get.
               I think that’s a good thing.

                       I think that, you know, treating the officers with respect is
               important because, as I said, 99.9 percent of the time, they were just
               doing their job. So I think, you know, you don’t want to treat them
               poorly when they were just doing their job. I think the division does
               a good job with that. And I think it enables us to do a very thorough
               investigation.

Defendants deny any other allegations in this paragraph.

                                Defendants’ Response to Plaintiff’s
                          Statement of “Policy and Practice Allegations”

       75.     Defendants deny the allegations in Paragraph 75.

       76.     Defendants deny the allegations in Paragraph 76.

                                Defendants’ Response to Plaintiff’s
                                    Statement of “Damages”

       77.     Defendants lack knowledge, information, or belief sufficient to admit or deny the

allegations in Paragraph 77 and therefore deny those allegations.

       78.     Defendants deny the allegations in Paragraph 78.




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                          Defendants’ Response to Plaintiff’s Count One:
                             “42 U.S.C. § 1983 and O.R.C. 2125.01 –
                              Wrongful Death and Survival Action”

       79.      In response to Paragraph 79, Defendants hereby incorporate the foregoing paragraphs

as though they had been fully re-written here.

       80.      In response to Paragraph 80, Defendants state that Plaintiff brings this civil action

under 42 U.S.C. § 1983 and O.R.C. Chapter 2125. Defendants deny the remaining allegations in

Paragraph 80.

       81.      In response to Paragraph 81, Defendants stated that Defendant Bryan Mason and

Defendant Kim Jacobs were, at all times relevant to this civil action: (a) employees of Defendant City

of Columbus; (b) acting within the courses and scope their City employment; and (c) acting under

color of state law. Defendants deny any remaining allegations in Paragraph 81.

       82.      Defendants deny the allegations in Paragraph 82.

       83.      Defendants deny the allegations in Paragraph 83.

       84.      Defendants deny the allegations in Paragraph 84.

       85.      Defendants deny the allegations in Paragraph 85.

       86.      Defendants deny the allegations in Paragraph 86.

                         Defendants’ Response to Plaintiff’s Count Two:
                  “Excessive Force and Unreasonable Seizure in Violation of 42
                 U.S.C. § 1983 and the Fourth and Fourteenth Amendments to the
                                   United States Constitution”

       87.      In response to Paragraph 87, Defendants hereby incorporate the foregoing paragraphs

as though they had been fully re-written here.

       88.      In response to Paragraph 88, Defendants state that Plaintiff brings this civil action

under 42 U.S.C. § 1983 and O.R.C. Chapter 2125. Defendants deny the remaining allegations in

Paragraph 88.



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       89.      In response to Paragraph 89, Defendants stated that Defendant Bryan Mason and

Defendant Kim Jacobs were, at all times relevant to this civil action: (a) employees of Defendant City

of Columbus; (b) acting within the courses and scope their City employment; and (c) acting under

color of state law. Defendants deny any remaining allegations in Paragraph 89.

       90.      Defendants deny the allegations in Paragraph 90.

       91.      Defendants deny the allegations in Paragraph 91.

       92.      Defendants deny the allegations in Paragraph 91.

       93.      Defendants deny the allegations in Paragraph 91.

                        Defendants’ Response to Plaintiff’s Count Three:
                “Racial Discrimination in Violation of 42 U.S.C. § 1983 the Equal
                        Protection Clause of the Fourteenth Amendment”

       94.      In response to Paragraph 94, Defendants hereby incorporate the foregoing paragraphs

as though they had been fully re-written here.

       95.      In response to Paragraph 95, Defendants state that Plaintiff brings this civil action

under 42 U.S.C. § 1983 and O.R.C. Chapter 2125. Defendants deny the remaining allegations in

Paragraph 95.

       96.      In response to Paragraph 96, Defendants stated that Defendant Bryan Mason and

Defendant Kim Jacobs were, at all times relevant to this civil action: (a) employees of Defendant City

of Columbus; (b) acting within the courses and scope their City employment; and (c) acting under

color of state law. Defendants deny any remaining allegations in Paragraph 96.

       97.      In response to Paragraph 97, Defendants state (a) Plaintiff is not King; (b) King is not

Plaintiff; (c) Plaintiff is African-American; (d) Plaintiff is member of a protected class for purposes

of equal protection analysis under the Fourteenth Amendment to the U.S. Constitution; (e) Plaintiff

has a clearly established constitutional right to be free from racially motivated arrests, detentions,

searches, and seizures; (f) Plaintiff’s constitutional right to be free from racially motivated arrests,


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detentions, searches, and seizures does not arise from her membership in a protected class; (g) Plaintiff

has not alleged any violation of her constitutional right to be free from racially motivated arrests,

detentions, searches, and seizures; (h) King was African-American; (i) King was member of a

protected class for purposes of equal protection analysis under the Fourteenth Amendment to the U.S.

Constitution; and (j) King’s constitutional right to be free from racially motivated arrests, detentions,

searches, and seizures did not arise from his membership in a protected class. Defendants deny any

remaining allegations in Paragraph 97.

        98.      In response to Paragraph 98, Defendants state that any reasonable office would have

known that: (a) any individual within the United States had a constitutional right to be free from

racially motivated or otherwise unreasonable arrests, detentions, searches, and seizures; (b) such

constitutional rights were clearly established on September 14, 2016. Defendants deny any remaining

allegations in Paragraph 98.

        99.      Defendants deny the allegations in Paragraph 99.

        100.     Defendants deny the allegations in Paragraph 100.

        101.     Defendants deny the allegations in Paragraph 101.

        102.     Defendants deny the allegations in Paragraph 102.

                         Defendants’ Response to Plaintiff’s Count Four:
                        “Deliberate Indifference to a Serious Medical Need”

        103.     In response to Paragraph 103, Defendants hereby incorporate the foregoing

paragraphs as though they had been fully re-written here.

        104.     In response to Paragraph 104, Defendants state that Plaintiff brings this civil action

under 42 U.S.C. § 1983 and O.R.C. Chapter 2125. Defendants deny the remaining allegations in

Paragraph 104.




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       105.    In response to Paragraph 105, Defendants stated that Defendant Bryan Mason and

Defendant Kim Jacobs were, at all times relevant to this civil action: (a) employees of Defendant City

of Columbus; (b) acting within the courses and scope their City employment; and (c) acting under

color of state law. Defendants deny any remaining allegations in Paragraph 105.

       106.    Defendants deny the allegations in Paragraph 106.

       107.    Defendants deny the allegations in Paragraph 107.

       108.    Defendants deny the allegations in Paragraph 108.

       109.    Defendants deny the allegations in Paragraph 109.

                        Defendants’ Response to Plaintiff’s Count Five:
                      “Monell Claim Against the City of Columbus, Ohio —
                                      42 U.S.C. § 1983”

       110.    In response to Paragraph 110, Defendants hereby incorporate the foregoing

paragraphs as though they had been fully re-written here.

       111.    In response to Paragraph 111, Defendants stated that Defendant Bryan Mason and

Defendant Kim Jacobs were, at all times relevant to this civil action: (a) employees of Defendant City

of Columbus; (b) acting within the courses and scope their City employment; and (c) acting under

color of state law. Defendants deny any remaining allegations in Paragraph 111.

       112.    Defendants deny the allegations in Paragraph 112.

       113.    Defendants deny the allegations in Paragraph 113.

       114.    Defendants deny the allegations in Paragraph 114.

       115.    Defendants deny the allegations in Paragraph 115.

       116.    Defendants deny the allegations in Paragraph 116.

       117.    Defendants deny the allegations in Paragraph 117.

       118.    Defendants deny the allegations in Paragraph 118.

       119.    Defendants deny the allegations in Paragraph 119.


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       120.    Defendants deny the allegations in Paragraph 120.

       121.    Defendants deny the allegations in Paragraph 121.

       122.    Defendants deny the allegations in Paragraph 122.

       123.    Defendants deny the allegations in Paragraph 123.

       124.    Defendants deny the allegations in Paragraph 124.

       125.    Defendants deny the allegations in Paragraph 125.

       126.    Defendants deny the allegations in Paragraph 126.

       127.    Defendants deny the allegations in Paragraph 127.

                   GENERAL ADMISSIONS, DENIALS & ASSERTIONS

       128.    Defendants deny each and every allegation made in Plaintiff’s complaint that has not

been specifically and unequivocally admitted in one or more of the foregoing paragraphs.

                                   AFFIRMATIVE DEFENSES

       129.    With respect to Plaintiff’s state-law claims, Defendants are entitled to all applicable

immunities, defenses, set-offs, and limitations set forth in Ohio’s Political Subdivision Tort Liability

Act, O.R.C §§ 2744.01–2744.11.

       130.    With respect to Plaintiff’s federal claims, Defendant Bryan Mason and Defendant

Kim Jacobs are entitled to qualified immunity.

       131.    Plaintiff’s official-capacity claims against Defendant Bryan Mason and Defendant

Kim Jacobs are duplicative of her claims against Defendant City of Columbus and are therefore

unnecessary.

       132.    Plaintiff’s claims are barred (either in whole or in part) by King’s own comparative

fault, contributory negligence, assumption of the risk, and/or wrongful conduct.




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        133.   Plaintiff’s claims are barred (either in whole or in part) by the comparative fault,

contributory negligence, assumption of the risk, and/or wrongful conduct of other over whom

Defendant had no control or authority.

        134.   Plaintiff’s claims are barred (either in whole or in part) by a failure to mitigate or to

reasonably minimize the damages for which recovery is now sought.

        135.   Plaintiff’s claims are barred (either in whole or in part) by the applicable statutes of

limitations.

        136.   Plaintiff’s claims are barred (in whole or in part) by the doctrines of estoppel, waiver,

or laches.

        137.   Plaintiff fails to state claims upon which relief can be granted.

        138.   Defendants reserve the right to assert such additional defenses that may become

apparent as this civil action proceeds through discovery.

                                     PRAYER FOR RELIEF

        139.   Having fully answered Plaintiff’s complaint, Defendants respectfully request: (a) an

order from this Court dismissing Plaintiff’s claims with prejudice; (b) an order from this Court

assessing costs (including reasonable attorneys' fees incurred in defending the claims asserted herein)

to Defendants; (c) and order from this Court awarding Defendants any and all such other relief the

Court deems just, necessary, or appropriate; and (d) and a final judgment entry in Defendants’ favor.

        140.   Defendants specifically seek any and all reasonable attorneys’ fees incurred in

defending the frivolous claims that Plaintiff has asserted in bad faith against Defendant Kim Jacobs.




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                                             Respectfully submitted,


                                             /s/ Andrew D.M. Miller
                                             Andrew D.M. Miller (0074515) – LEAD
                                             Timothy J. Mangan (0025430)
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                                             Attorneys for Defendants

                                       JURY DEMAND

       Defendants hereby demand a jury trial of all issues so triable.


                                             /s/ Andrew D.M. Miller
                                             Andrew D.M. Miller (0074515)
                                             admmiller@columbus.gov

                                             Attorney for Defendants




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                                   THIRD-PARTY COMPLAINT

        For their third-party complaint against Third-Party Defendants Demetrius Braxton, Jaronn

Collins,       AB          , and      PR        , Defendants/Third-Party Plaintiffs City of Columbus,

Bryan Mason, and Kim Jacobs (collectively “Defendants”) state as follows:

                                           INTRODUCTION

        1.         Defendants hereby incorporate all of paragraphs contained in their answer above as if

each of those paragraphs had been fully re-written here.

        2.         Defendants reassert that Plaintiff has no claims or causes of actions against them. If

the Court finds otherwise, Defendants deny liability.

                                   THIRD-PARTY DEFENDANTS

        3.         Third-Party Defendant Demetrius Braxton is an Ohio resident currently incarcerated

at the Lebanon Correctional Institution in Lebanon, Ohio. On September 14, 2016, Braxton resided

in Columbus, Ohio. On September 14, 2016, Braxton was sixteen years old. At present, Braxton is

twenty-one years old.

        4.         Third-Party Defendant Jaronn Collins is a resident of Ohio who is currently

incarcerated at the Franklin County Corrections Center II. On September 14, 2016, Collins resided in

Columbus, Ohio. On September 14, 2016, Collins was sixteen years old. At present, Collins is

eighteen years old.

        5.         Third-Party Defendant       AB            is a resident of Columbus, Ohio. On September

14, 2016,    AB resided in Columbus, Ohio. On September 14, 2016, AB was also fourteen years
old. At present,    AB is sixteen years old.




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       6.      Defendant         PR        is a resident of Columbus, Ohio. On September 14, 2016,

  PR resided in Columbus, Ohio. On September 14, 2016, PR was twelve years old. At present,
  PR is fifteen years old.
                                   FACTUAL ALLEGATIONS

       7.      On September 14, 2016, Braxton, Collins,       AB , PR , and King were driving
around Columbus, Ohio, in a car that    PR had stolen from her mother earlier in the day. At that
time, King was in possession of a black, Umarex 40XP air-powered replica handgun. At that time,

King was thirteen years old.

       8.      While       PR was driving King, Braxton, Collins, and AB around Columbus,
Ohio, in the stolen vehicle, King, Braxton, and Collins were touching and looking at King’s replica

firearm. They, along with      AB , and PR , even discussed how much King’s replica firearm
looked like an actual firearm.

       9.      When the group realized the stolen vehicle was running low on fuel, they hatched a

plan to use King’s replica firearm to commit an armed robbery to get money for more fuel.

       10.     The group parked the stolen vehicle in the area of South 18th Street and East Capital

Street on Columbus’ near east side. After they exited the car, King took his replica firearm from his

waistband and gave it to Collins for the robbery. Braxton then took King’s replica firearm from

Collins for the robbery.

       11.     The group followed through with their plan to commit a robbery on South 18th Street.

Collins asked an individual victim for the time in an effort to that individual to come closer to group

for the robbery. Braxton then pointed King’s replica firearm at the victim, robbed him $10 in cash,

and then threatened to shoot him. King, Collins,    AB , and PR had stationed themselves nearby
while the robbery was being committed.




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       12.     The group then fled the immediate area of the robbery. Braxton hid some of his outer

clothing under a parked vehicle but did not discard King’s replica firearm.

       13.     Instead, Braxton returned King’s replica firearm to King. Collins told King to keep

the replica firearm. King put the replica firearm into his waistband.

       14.     Bystanders who had witnessed the robbery called 911. Columbus police officers

responded to the location.

       15.     Collins handed    PR and AB the money that had been taken during the robbery.
  PR then drove herself and AB away in the stolen car and used the stolen money to buy fuel.
Collins escaped on foot.

       16.     Braxton and King were chased on foot by police officers. Mason was running parallel

to that foot chase, one street over from Braxton and King. When Braxton and Mason ran into Mason’s

path, Mason ordered Braxton and King to get on the ground. Braxton complied. King did not.

       17.     Instead, King looked directly at Mason while pulling the replica firearm from his

waistband. Mason believed King was going to shoot him, and Mason fired his service weapon at

King. King’s replica firearm was later recovered lying near him.

       18.     The stolen vehicle was recovered from      PR the next day after she led Columbus
police officers on a dangerous high-speed chase.

       19.     Braxton was arrested and charged for his criminal actions. He ultimately entered a

plea of guilty to a charge of robbery in violation of Section 2911.02 of the Ohio Revised Code, which

was third-degree felony. Braxton was sentenced to three years in prison for his crimes and is currently

serving that sentence.




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                                 COUNT ONE:
                  INDEMNITY AND/OR CONTRIBUTION RE BRAXTON

        20.    Defendants hereby incorporate all of the foregoing paragraphs as though they had

been fully re-written here.

        21.    The intentional, reckless, and/or negligent actions of Braxton were the direct and

proximate cause of any damages, injuries, or losses from which Plaintiff seeks compensation from

Defendants in this action.

        22.    King’s death was a direct and foreseeable consequence of the armed robbery in which

Braxton knowingly and willingly participated.

        23.     If it should ultimately be determined that Defendants have any liability whatsoever in

connection with the claims alleged in Plaintiff’s complaint, Defendants will then have sustained

damages in the amount adjudged against them, together with any and all incidental and consequential

damages resulting therefrom. Defendants would then be entitled to contribution and/or

indemnification from Braxton for some of all of those damages.

                                  COUNT TWO:
                   INDEMNITY AND/OR CONTRIBUTION RE COLLINS

        24.    Defendants hereby incorporate all of the foregoing paragraphs as though they had

been fully re-written here.

        25.    The intentional, reckless, and/or negligent actions of Collins were the direct and

proximate cause of any damages, injuries, or losses from which Plaintiff seeks compensation from

Defendants in this action.

        26.    King’s death was a direct and foreseeable consequence of the armed robbery in which

Collins knowingly and willingly participated.

        27.     If it should ultimately be determined that Defendants have any liability whatsoever in

connection with the claims alleged in Plaintiff’s complaint, Defendants will then have sustained


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damages in the amount adjudged against them, together with any and all incidental and consequential

damages resulting therefrom. Defendants would then be entitled to contribution and/or

indemnification from Collins for some of all of those damages.

                                COUNT THREE:
                   INDEMNITY AND/OR CONTRIBUTION RE                        AB
        28.    Defendants hereby incorporate all of the foregoing paragraphs as though they had

been fully re-written here.

        29.     The intentional, reckless, and/or negligent actions of    AB were the direct and
proximate cause of any damages, injuries, or losses from which Plaintiff seeks compensation from

Defendants in this action.

        30.    King’s death was a direct and foreseeable consequence of the armed robbery in which

 AB knowingly and willingly participated.
        31.     If it should ultimately be determined that Defendants have any liability whatsoever in

connection with the claims alleged in Plaintiff’s complaint, Defendants will then have sustained

damages in the amount adjudged against them, together with any and all incidental and consequential

damages resulting therefrom. Defendants would then be entitled to contribution and/or

indemnification from   AB for some of all of those damages.
                                COUNT FOUR:
                  INDEMNITY AND/OR CONTRIBUTION RE                         PR
        32.    Defendants hereby incorporate all of the foregoing paragraphs as though they had

been fully re-written here.

        33.    The intentional, reckless, and/or negligent actions of     PR were the direct and
proximate cause of any damages, injuries, or losses from which Plaintiff seeks compensation from

Defendants in this action.




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       34.     King’s death was a direct and foreseeable consequence of the armed robbery in which

  PR knowingly and willingly participated.
       35.     If it should ultimately be determined that Defendants have any liability whatsoever in

connection with the claims alleged in Plaintiff’s complaint, Defendants will then have sustained

damages in the amount adjudged against them, together with any and all incidental and consequential

damages resulting therefrom. Defendants would then be entitled to contribution and/or

indemnification from   PR for some of all of those damages
                                    PRAYER FOR RELIEF

       36.     Under the first cause of action and for the foregoing reasons, Defendants pray that the

Court enter judgment in Defendants’ favor and against Braxton as follows:

               a.      Requiring Braxton, if Defendants are found liable in any way, to pay
                       Defendants the sum of any judgment issued against them in favor of any party;

               b.      Awarding Defendants their costs and disbursements, including reasonable
                       attorney fees, with interest; and

               c.      Granting Defendants such additional relief as the law, equity and justice
                       require.

       37.     Under the second cause of action and for the foregoing reasons, Defendants pray that

the Court enter judgment in Defendants’ favor and against Collins as follows:

               a.      Requiring Collins, if Defendants are found liable in any way, to pay
                       Defendants the sum of any judgment issued against them in favor of any party;

               b.      Awarding Defendants their costs and disbursements, including reasonable
                       attorney fees, with interest; and

               c.      Granting Defendants such additional relief as the law, equity and justice
                       require.




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       38.     Under the third cause of action and for the foregoing reasons, Defendants pray that

the Court enter judgment in Defendants’ favor and against   AB as follows:
               a.     Requiring AB , if Defendants are found liable in any way, to pay
                      Defendants the sum of any judgment issued against them in favor of any party;

               b.     Awarding Defendants their costs and disbursements, including reasonable
                      attorney fees, with interest; and

               c.     Granting Defendants such additional relief as the law, equity and justice
                      require.

       39.     Under the fourth cause of action and for the foregoing reasons, Defendants pray that

the Court enter judgment in Defendants’ favor and against   PR as follows:
               a.     Requiring PR , if Defendants are found liable in any way, to pay
                      Defendants the sum of any judgment issued against them in favor of any party;

               b.     Awarding Defendants their costs and disbursements, including reasonable
                      attorney fees, with interest; and

               c.     Granting Defendants such additional relief as the law, equity and justice
                      require.

                                             Respectfully submitted,


                                             /s/ Andrew D.M. Miller
                                             Andrew D.M. Miller (0074515) – LEAD
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                                             Attorneys for Defendants




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                                        JURY DEMAND

       40.     Defendants hereby demand a jury trial of all issues so triable.


                                              /s/ Andrew D.M. Miller
                                              Andrew D.M. Miller (0074515)
                                              admmiller@columbus.gov

                                              Attorney for Defendants

                                  CERTIFICATE OF SERVICE

       I hereby certify that, on November 13, 2018, I electronically filed the foregoing with the

Clerk of this Court by using the Court’s CM/ECF System. Copies will be served upon counsel of

record by, and may be obtained through, the Court's CM/ECF System. Copies of the foregoing

will also be served upon Third-Party Defendants via summons and at the addresses identified in

the captioned of this pleading.


                                              /s/ Andrew D.M. Miller
                                              Andrew D.M. Miller (0074515)
                                              admmiller@columbus.gov




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